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4
     Attorney for MICHAEL TRAN
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8
                             IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     THE UNITED STATES OF AMERICA,    ) No. 2:10-cr-0347 MCE
11                   Plaintiff,       )
12
                                      ) STIPULATION AND
          v.                          ) ORDER TO PROBATION TO PREPARE
13                                    ) A PRE-PLEA REPORT
     MICHAEL TRAN                     )
14                                    )
15
                     Defendants.      )
     ================================) Judge: Hon. Morrison C. England
16

17          The government has provided the defense with a plea offer that has a possible sentencing
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     range of zero to twenty years. Mr. Tran’s sentence will be entirely determined by the sentencing
19
     guideline ranged used to calculate the offense level for the substance “BZP”. The guidelines
20
     have recently changed to add BZP to the listed chemicals used in determining the guideline
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22   range. The guideline calculations for BZP are sufficiently complicated that a pre-plea

23   report is appropriate to analyze sentencing issues in this matter. The parties have spoken with
24
     the probation office and are in agreement that a pre-plea report would aid resolution of this
25
     matter. The probation office indicates that the process will take approximately six to eight weeks
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     to complete. If ordered by the court, the report may be completed by our next status hearing of
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28   August 30, 2012. Pre-plea reports have already been ordered for at least three co-defendants.



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1                          It is hereby requested by the parties, Todd Leras, Assistant United States Attorney, and
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     Michael Long, attorney for Michael Tran, that the court order the United States Probation Office to
3
     prepare a pre-plea report concerning the United States Sentencing Guidelines calculations, including
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     criminal history, applicable to Michael Tran.
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6

7    Dated: July 18, 2012                                              Respectfully submitted,
8
                                                                       /s/ Michael D. Long__________
9
                                                                       MICHAEL D. LONG
                                                                       Attorney for Michael Tran
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11   Dated: July 18, 2012                                              BENJAMIN WAGNER
12
                                                                       United States Attorney

13                                                                     /s/ Todd Leras____
                                                                       TODD LERAS
14                                                                     Assistant U.S. Attorney
15

16                                                            ORDER
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                           UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
18
     United State Probation Office prepare a pre-plea report analyzing the total offense level and
19
     criminal history calculations for Michael Tran.
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                           IT IS SO ORDERED.
21

22   Dated: July 31, 2012
23
                                                            __________________________________
24                                                          MORRISON C. ENGLAND, JR
                                                            UNITED STATES DISTRICT JUDGE
25   DEAC_Signature-END:




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